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1     plane       back   from          Saudi          Arabia           as    we       did,       but

2     I    didn't      really          talk          to    him        because          you

3     can't       hear   anybody                on    those           planes

4               Q.           You       said          it    was        three,          tops.

5     Do    you      remember          the       third          time?

6               A.           No.           I    mean,          I 'm    guessing.

7               Q.           So       have       you       ever        had       a

      substantive            conversation                      with        him       about

9     anything?

10              A.           No.           I    don't          think        he       knows       who

11    I    am   or    what       my    name          is.

12              Q.           Does          Secretary             Ross        speak          to

13    Stephen         Bannon,          maybe          not       anymore,              but    in

14    2017?

15                           MS.       WELLS:              I    object           to    the

16    form.

17              A.           I    don't          know.

18              Q.           Are       you       aware          that        they       ever

19    spoke?

20              A.           I'm       sure          there       were

21    pleasantries                    If       there       was        more       discussion

22    beyond         that, •          don't          know.

23              Q.           Is~ there               anyone           at    the

24    Department         of       Commerce                that        you    are       aware

25    that      has    had       conversations                   with        Stephen




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                                                                      Pl. Objection -
                                                                      401 / 611(a) -
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                                                                      Pl.
                                                                      objection -
                                                                      401/611(a)
                                                                      - non
                                                                      responsive




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                                                                  401/611(a) -
                                                                  nonresponsive




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    1              A.              It       depends if                I       read    it ',or pot.

    21             Q.              Are          you    copied             on    these)     ;to    'gain

    31    awareness           with          the       expectation                that      (you

          will     read       them?

    I              A.                   don't          know.              I    mean,       you

          know,        it    is    a    very          good       question,               because

•         sometimes           Ipeople            copy       me       ori) e -mails i,that

•         are     totally          irrelevant                   to    me       and,' have

s        n othing (to             do    with          anything                that) I      deem     &±-)

10        utmost        urgency,                and    sometimes                they forget

          to     copes me         on    things             that       I       would      have

111       thought` I          would             have       been (copied               on.

                                   So       I    wish       I    could          answer        that.

          I    don't        know,       when          people          copy fine,           what

          makes        them       decide             whether la               particular

         (0 -mail, is         something) that) I                          should        be    on    or

          not.

18                 Q               Would             you    say that             you       were

19        situationally                 aware          of       who       was    working           on

20        the     decision             to       add    a    citizenship                 question

21)       to     the    2020       census?

1,22)                              MS.          WELLS:           I    object          to     form.

•                  A.              No.           I    would, say               that     I iwa4

          aware        of    who       was       working) on                  census.

                                             Mit NM               an




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1     ordinarily?

2             A.                 Well,          Brooke          Alexander              is    no

3     longer          there.

4             Q.                 Could          she       when     she       was?

5             A.                 Well,          it       says    right        here          she

6     couldn't,             so       I    don't          know.

7             Q.                 Are          you       aware    of     anyone             having

8     the    ability             to       send          e -mails       from       the

9     Secretary's                e-mail             account?

10            A.                 The          best       person        to    ask       is    our

11    IT    person.              I       suppose          somebody           could          send

12    an    e-mail          from          his       phone.

13            Q.                 Simply             by    holding           his    phone          and

14    logging          in    as          him?

15            A.                 Yeah.              I    mean,     you       could          send

16    an    e-mails ifrom                 his       phone.

17            Q.                 Is       it    your       understanding                    that

18    people          ever       did          send       e -mails       under          the

19    Secretary's                e-mail             account?

20            A.                 I       don't          know.      I    mean,          I    would

21    be          I    would             be    surprised           if       somebody

22    would       send       something                   from    his        e-mail

23    accounti

24            Q                  And          remind       us    of     Brooke

25    Alexander's                title          at       this    point,           as       best




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1     asked. "

2                             Do       you       know       who       Secretary             Ross

3     means       when       he    says          "they"?

4             A.              I    have          no    idea.

5             Q.              And       who          would       know?

6             A.              Wilbur             Ross.

7             Q.              And       in       the    e-mail             that       you

8     write       above,          in    this          e-mail,          are       you

9     providing          any       information                   to    Wilbur          Ross       to

10    assist       him       in    arriving             at       his       decision          to

11    add    the    citizenship                      question          to       the    2020

12    census       looking             at       just    what          you       wrote?

13                            MS.       WELLS:              I    object          to    the

14    form.

15            A.              What          I    wrote          is    "I       continue          to

16    talk    frequently                with          Marc       Neumann             and    we

17    often       have       dinner             together.              He       will       not

18    leave       les,       but       is       in    love       with          the    census

19    and    talks       about          it       nonstop.              Do       you    want       me

20    to    set    up    another                meeting?              Let       me    know       if

21    you    want       to    have          a    drink          or    get       together

22    with    him       over       the          weekend.              Wendy. "

23                            I    doni_LO see              anything             in    there

24    about       the    citizenship                   question.

25            Q.              In       fact,          you       have       t    stified




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                                                                                    Page 217

1             A.                 It    looks       like    an       e-mail          chain.

2             Q.                 Okay.        From       whom       to       whom?

3             A.                 It    looks       like    from          James       to

4     people.           I    don't       know       who    James             sent    it    to.

5                                And    then       I'm    on    it,          from    myself

6     to   James,           Karen       Dunn       Kelley,          Mike       Walsh       and

7     Earl    Comstock,                and    then       there       is       an    e-mail

8     back    from          James       to    me.

9             Q.                 And    you're       asking                   he    sent

10    these    quotes                before.        "Did       you       already          send

11    this    to    a       reporter?"

12            A.                 I    said    to    him,       "Did          you    already

13    send    this          to       reporter?"

14            Q.                 Do    you    typically             approve

15    communications                   from    the       Public          Information

16    Office       to       reporters?

17            A.                 Well,       "approve"          is       a    different

18    word.                 on       occasion,       may       have          comments.

19            Q.                 Do    you    typically             review          draft

20    statements             to       reporters          from       the       Public

21    Information                Off ice?

22            A.                 It    depends.                haven't             reviewed

23    this'

24            Q.                 We    will    in    just       a    second.

25    want    to    ask          you    questions          about             process; lif




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                                                                                          Page 218

1     you    don't          mind.

2                A.              Sure.

3                Q.              Is it typical for the Public

4     Information                Office          to    send          you    drafts          of

5     what       they       are       planning             to       send    to

6     reporters?

7                A.              They       will       generally                copy       me    on

      it,    depending                on    what       it       is,       not    always,

9     and    they          will       send       it    to       a    group       for

10    comment.

11               Q.              And       does       it    matter          whether             the

12    issue          is    more       or    less       important                as    to

13    whether             you    will       be    copied             before          or    after

14    it    is       sent       to    the       reporter?

15                               MS.       WELLS:           I       object       to       the

16    form.

17               A.              I    have       no    idea          how    they          decide

18    when       they       start          to    include             me    in    these

19    things.

20               Q               And       how    often             do    you    have

21    comments             back       to    the       Public             Information

22    Office          when       you       get.] comments                 from *==0

23               A.              Rarelfl          because                it's    not       my

24    expertise.

25                               So    when       you       do       respond          to    the




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                                                                                            Page 219

1     Public       Information                     Office             on    a    draft       to       a

2     reporter, lit's                    not       particularly                      common;          is

3     that    correct?

4             A.                N o,      I       didn't          say       that.           It    just

5     depends.

6             Q.                What          does          it    depend             on?

7             A.                It       depends,                Al    if            read    it,

      where       it       is   in       the       system,' C,                  if    anything

9     pops    out          at   me.

10            Q.                I    guess             I    would          like       you    to

11    review       this,            but       I    want          you       to    review          this

12    with    the          question               in       mind       as    to       whether          you

13    see    anything               in    here             that       is    relevant             to

14    the    decision               to    add          a    citizenship                question

15    to    the    2020         census.

16                              So       just) review                  it       with       that       in

17    mind    and          tell      me       if       you       find       anything.

18            A.                So       you       want          me    to       read       this?

19    Because          I    don't         remember                having             read    this

20    before.

21            Q.                Okay.              Then          let's          ask    this

22    question:

23                              Why       would             you       ask       him    if    he       had

24    already          sent         it    to       the       reporter                without

25    reading          it?




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                                                                Pl. Objection -
                                                                602 / speculation




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                                                                      Pl. Objection -
                                                                      602 / speculation




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                                                                                          Page 244


1                                    CERTIFICATION

2

3          I,        TODD    DeSIMONE,             a       Notary             Public          for

4     and       within       the       State       of       New          York,       do       hereby

5     certify:

6          That       the    witness             whose          testimony                as

7     herein          set    forth,          was       duly          sworn          by    me;       and

8     that       the       within       transcript                   is       a    true       record

9     of       the    testimony             given          by       said          witness.

10         I    further          certify          that          I    am       not    related

11    to       any    of    the       parties          to       this          action          by

12    blood          or    marriage,             and       that          I    am    in    no       way

13    interested             in       the    outcome                of       this    matter.

14         IN    WITNESS             WHEREOF,          I    have             hereunto          set

15    my       hand       this       24th    day       of       August,             2018.

16

17



18                          TODD       DESIMONE

19

20                               *           *              *

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1        New York Immigration Coalition v. US Dept. of Commerce

2        Wendy Teramoto

3                  INSTRUCTIONS TO THE WITNESS

4                 Please read your deposition over

5        carefully and make any necessary corrections.

6        You should state the reason in the

7        appropriate space on the errata sheet for any

8        corrections that are made.

9                 After doing so, please sign the errata

10       sheet and date it.

11                You are signing same subject to the

12       changes you have noted on the errata sheet,

13       which will be attached to your deposition.

14                It is imperative that you return the

15       original errata sheet to the deposing

16       attorney within thirty (30) days of receipt

17       of the deposition transcript by you.          If you

18       fail to do so, the deposition transcript may

19       be deemed to be accurate and may be used in

20       court.

21

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25    2991395



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1        New York Immigration Coalition v. US Dept. of Commerce

2        Wendy Teramoto

3                          E R R A T A

4                           - - - - -

5        PAGE      LINE      CHANGE

6        _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

7        Reason:_______________________________________

8        _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

9        Reason:_______________________________________

10       _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

11       Reason:_______________________________________

12       _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

13       Reason:_______________________________________

14       _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

15       Reason:_______________________________________

16       _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

17       Reason:_______________________________________

18       _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

19       Reason:_______________________________________

20       _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

21       Reason:_______________________________________

22       _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

23       Reason:_______________________________________

24       _ _ _     _ _ _     _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _

25       2991395



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1        New York Immigration Coalition v. US Dept. of Commerce

2        Wendy Teramoto

3                     ACKNOWLEDGMENT OF DEPONENT

4                         I, ______________________, do

5        hereby certify that I have read the foregoing

6        pages and that the same is a correct

7        transcription of the answers given by

8        me to the questions therein propounded,

9        except for the corrections or changes in form

10       or substance, if any, noted in the attached

11       Errata Sheet.

12

13       __________              ________________________

14       DATE                        SIGNATURE

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                  Federal Rules of Civil Procedure

                                  Rule 30




    (e) Review By the Witness; Changes.

    (1) Review; Statement of Changes. On request by the

    deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

    (A) to review the transcript or recording; and

    (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

    (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF SEPTEMBER 1,

    2016.     PLEASE REFER TO THE APPLICABLE FEDERAL RULES

    OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.




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